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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,                        No. 18-cr-20594

             vs.                                     Hon. Laurie J. Michelson
                                                     United States District Judge
D-1 HECTOR MOLINA,
     a/k/a “Chubbs”

                   Defendants.


                      MOTION FOR PROTECTIVE ORDER

      The United States of America, by and through its counsel, United States

Attorney Matthew Schneider, and Assistant United States Attorney Blaine

Longsworth, moves for a protective order under Federal Rule of Criminal Procedure

16(d) that limits the use and dissemination of certain material and information

produced by the government as discovery in this case.

      1. Discovery materials produced by the government in this case include

documents, reports, and audio and visual recordings.

      2. The government seeks to limit the potential dissemination of these materials

to the defendant and those representing him in this case. The governments predicates

this request on concerns for witness safety given the nature of the charges set forth in

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the indictment.

      3. The government requests an order providing that disclosure of the discovery

materials be limited to: (1) members of the defense team in this case, these being co-

counsel, paralegals, investigators, litigation support personnel, the Defendants, and

defense secretarial staff; (2) any experts or consultants retained to assist in the

preparation of the defense of this case; (3) any potential witnesses interviewed by the

defense team in the criminal case if it is determined that it is necessary to display

records to such witnesses for the purpose of preparing the defense of this criminal

case; and (4) the Court in connection with proceedings in this case.

      4. The government requests an order that counsel for the defendant: (a) shall not

allow his client, or any other potential witness, to retain any audio or video recordings

provided in discovery by the government, absent further order by this Court; (b) will

take all reasonable steps necessary to ensure that government discovery materials are

not improperly disclosed or distributed; and (c) shall destroy or return the government

discovery materials upon the conclusion of this matter.

      5. Federal Rule of Criminal Procedure 16(d)(1) provides for protective orders

that limit the dissemination of discovery in criminal cases: “At any time the court

may, for good cause, deny, restrict, or defer discovery or inspection, or grant other

appropriate relief. The court may permit a party to show good cause by a written

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statement that the court will inspect ex parte. If relief is granted, the court must

preserve the entire text of the party's statement under seal.”

      6. Under E. D. Mich. LR 7.1(a)(1), I have consulted with defense counsel and

he concurs in this motion.

      7. A proposed order has been prepared.

WHEREFORE, the government requests that this Honorable Court grant the motion.



                                               FOR THE UNITED STATES OF
                                               AMERICA

                                               MATTHEW SCHNEIDER
                                               United States Attorney

                                               s/Blaine Longsworth
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FOR DEFENDANT


s/Kimberly Stout with consent
Kimberly Stout
Attorney for Hector Molina




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                          CERTIFICATION OF SERVICE

      I hereby certify that on, January 2, 2019, I electronically filed the foregoing

with the Clerk of the Court using the ECF system, which will electronically serve all

ECF participants.

                                                   s/Jessica Stanton
                                                   United States Attorney’s Office




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